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                          UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                  CENTRAL DIVISION

 UNITED STATES OF AMERICA,                   )         Civ. 07-30100-03-KES
                                             )
             Plaintiff,                      )
                                             )
    vs.                                      )                    ORDER
                                             )
 JOHN NYSTROM,                               )
                                             )
            Defendant.                       )

          This court referred defendant’s motion to consolidate counts 40 through

 46 (Docket 103) and motion to dismiss counts 42 and 46 (Docket 104) to

 United States Magistrate Judge Veronica L. Duffy pursuant to 28 U.S.C.

 § 636(b)(1)(B).

          On October 10, 2008, Magistrate Judge Duffy submitted her amended

 report and recommendation for disposition of these pending motions. Any

 objections to the report were due by October 30, 2008. No objections were

 filed. De novo review is required to any objections that are timely made and

 specific. See Thompson v. Nix, 897 F.2d 356 (8th Cir. 1990). Even though no

 objections were timely filed, the court reviewed the matter de novo, and finds

 that the magistrate judge’s report and recommendation will be adopted in full.

          Now, therefore it is hereby

          ORDERED that the amended report and recommendation of Magistrate

 Judge Duffy (Docket 134) is accepted in full.
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       IT IS FURTHER ORDERED that defendant’s motion to consolidate counts

 40 through 46 (Docket 103) is denied.

       IT IS FURTHER ORDERED that defendant’s motion to dismiss counts 42

 and 46 (Docket 104) is denied without prejudice to the renewal of the motion at

 trial after the close of the government’s case-in chief.

       Dated November 4, 2008.

                                 BY THE COURT:



                                 /s/ Karen E. Schreier
                                 KAREN E. SCHREIER
                                 CHIEF JUDGE




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